                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
              Plaintiff,                               No. CR09-4033-MWB
 vs.                                          REPORT AND RECOMMENDATION
                                                  ON MOTION TO DISMISS
 JOHNNY ROJAS,
                                                      INDICTMENT
              Defendant.
                                ____________________


       The defendant Johnny Rojas has filed a motion to dismiss the Indictment “on the
grounds the evidence presented to the grand jury was not sufficient to sustain a probable
cause finding.” Doc. No. 180. The plaintiff (the “Government”) resists the motion. Doc.
No. 189.
       On June 18, 2009, the grand jury returned an Indictment charging seven individuals
(other than Rojas) with conspiracy to possess with intent to distribute, and conspiracy to
distribute, 1000 kilograms or more of marijuana. Doc. No. 1. On July 23, 2009, the
grand jury returned a Superseding Indictment adding an eighth defendant to the case. Doc.
No. 62. On October 21, 2009, the grand jury returned a Second Superseding Indictment
adding Rojas as a defendant in the case, and reducing the quantity of marijuana the
defendants allegedly conspired to possess and distribute to 100 kilograms or more. Doc.
No. 140.
       In his motion, Rojas argues the grand jury had insufficient evidence to charge him
as a member of the conspiracy. Rojas is alleged to have driven a vehicle from the San
Diego, California or Tijuana, Mexico, area to the Northern District of Iowa, with
marijuana hidden in the gas tank. He argues the grand jury had no evidence regarding
“how much marijuana was transported in the gas tank”; whether he “knew or should have
known that he was acting as a mule to deliver marijuana”; or whether he “knew or should


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have known other co-defendants were making, had made or were continuing to make trips
to Mexico to procure marijuana for distribution.” Doc. No. 180-1, pp. 1-2.
       As noted by the Government in its resistance, it is well-settled law that “‘an
indictment is not open to challenge on the ground that there was inadequate or insufficient
evidence before the grand jury.’” Doc. No. 189 (quoting United States v. Nelson, 165
F.3d 1180, 1182 (8th Cir. 1999), citing Costello v. United States, 350 U.S. 359, 363-64,
76 S. Ct. 406, 408-09, 100 L. Ed. 397 (1956); United States v. Cady, 567 F.2d 771, 776
(8th Cir. 1977)). The United States Supreme Court has held that “[a]n indictment returned
by a legally constituted and unbiased grand jury . . . is enough to call for trial of the
charge on the merits. The Fifth Amendment requires nothing more.” Costello v. United
States, 350 U.S. 359, 363, 76 S. Ct. 406, 409, 100 L. Ed. 397 (1956).
       Accordingly, IT IS RESPECTFULLY RECOMMENDED that Rojas’s motion to
dismiss the charge against him on the basis that there was insufficient evidence before the
grand jury be denied. Objections to this Report and Recommendation must be filed by
December 9, 2009. Responses to objections must be filed by December 11, 2009.
       IT IS SO ORDERED.
       DATED this 2nd day of December, 2009.




                                          PAUL A. ZOSS
                                          CHIEF MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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